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 1   THE LAW OFFICES OF MARK J. REICHEL
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 4
     Attorney for Defendant
 5   JEANNE SPAICH
 6
 7                          IN THE UNITED STATES DISTRICT COURT
 8                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                 )
                                               )     NO. CR.S-08-440-JAM
11                      Plaintiff,             )
                                               )     STIPULATION AND PROPOSED ORDER
12          v.                                 )     AFTER HEARING; ORDER ON
                                               )     EXCLUSION OF TIME
13                                             )
                                               )     Date: February 24, 2009
14   JEANNE SPAICH,                            )     Time: 9:30 a.m.
                    Defendant.                 )     Judge: Hon. John A. Mendez
15   _____________________________
16          IT IS HEREBY STIPULATED by and between the parties hereto through
17   their respective counsel, STEVEN LAPHAM, Assistant United States
18   Attorney, attorney for Plaintiff, and MARK J. REICHEL, Esq., attorney
19   for defendant, ROBERT MILLER HOLLEY, Esq. Attorney for defendant, that
20   the present date for the status hearing be vacated and re calendared
21   for February
     for          24, 2009
           February     24,at 9:30
                              2008 a.m.
                                      at 9:30 a.m.
22          This continuance is requested as defense counsel needs adequate
23   time to prepare for the case.            Defense counsel will soon receive a
24   large volume of discovery and will be researching for motions to file.
25          Accordingly, all counsel and defendants agree that time under the
26   Speedy Trial Act from the date this stipulation is lodged, through
27   February 24, 20089 should be excluded in computing the time within which
28   Stip and Order
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 1   trial must commence under the Speedy Trial Act, pursuant to Title 18
 2   U.S.C. § 3161 (H)(8)(B)(iv) and Local Code T4.
 3   DATED: January 16, 2009.            Respectfully submitted,
 4                                       MARK J. REICHEL, ESQ.
 5                                       /s/ MARK J. REICHEL
                                         MARK J. REICHEL
 6                                       Attorney for defendant
                                         JEANNE SPAICH
 7
 8                                       ROBERT MILLER HOLLEY, ESQ.
 9                                       /s/ MARK J. REICHEL
                                         For ROBERT MILLER HOLLEY
10                                       Attorney for defendant
                                         GAVIN SPAICH
11
12                                       McGREGOR W. SCOTT
                                         United States Attorney
13
14   DATED: January 16, 2009.            /s/MARK J. REICHEL for:
                                         STEVE LAPHAM
15                                       Assistant U.S. Attorney
                                         Attorney for Plaintiff
16
17                                       O R D E R
18          IT IS SO ORDERED.     Time is excluded in the interests of justice
19   pursuant to 18 U.S.C. § 3161 (H)(8)(B)(iv) and Local Code T4.
20
     DATED: January 16, 2009.                  /s/ John A. Mendez
21                                             JOHN A. MENDEZ
                                               United States District Court
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     Stip and Order                            2
